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AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
Sam Patel

                                                                 CASE NUMBER:       21-cv-5487
                                V.                               ASSIGNED JUDGE:
                                                                                    Hon. Jorge L. Alonso
 HEALTHCARE REVENUE RECOVERY                                     DESIGNATED
 GROUP, LLC d/b/a ARS ACCOUNT
                                                                 MAGISTRATE JUDGE: Hon. M. David Weisman
 RESOLUTION SERVICES


                    TO: (Name and address of Defendant)
       HEALTHCARE REVENUE RECOVERY GROUP, LLC
       c/o Illinois Corporation Service Co.
       801 ADLAI STEVENSON DRIVE
       SPRINGFIELD , IL 62703


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Bryan Thompson
                 Chicago Consumer Law Center, P.C.
                 33 N. Dearborn St., Suite 400
                 Chicago, Illinois 60602


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                      October 15, 2021

     (By) DEPUTY CLERK                                                                DATE
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